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                                                                             Exhibit B

                                                                                     to

                                                       Beken’s Complaint
                                                     for Patent Infringement

                                        Claim Chart for the ‘228 Patent

                                                                                     1
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    US Patent No.    Mapped against Auctus Technology AT1846S chip
    9,197,228
    Exemplary
    Claim 91
    9. A method      X-Ray Photo of the Auctus’s AT1846S chip:                                   Top view of the AT1846S chip:
    comprising:




                     In the X-Ray Photo, the black lines are bonding wires, connecting the die pad with chip pins.

                     Photo of the chip A21 of the patent claims                                  Top view of the Auctus’s AT1846S chip with measurements:


1
 Beken provides this exemplary claim chart for the purposes showing one basis of infringement of the ‘228 Patent by the Accused Products as defined in the Complaint at ¶27. This exemplary claim chart
addresses the Accused Products broadly based on the fact that the Accused Products infringe in the same general way. Beken reserves its right to amend and fully provide its infringement arguments and evidence
thereof until its Infringement Contentions are later produced according to the court’s Scheduling Order in this case.

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                                                      DIE 2
                                                                  DIE 1




                                                              DIE 3




                   The above two photos indicate the chip encapsulation of the AT1846S chip completely overlaps with the encapsulation of chip A21 in terms of the
                   component layout and size.



 generating an     In the Programming Guide of the AT1846S chip, a frequency synthesizer (oscillator) generates an oscillating signal. (Both frequency synthesizer and
 oscillating       oscillator are frequency generator sources that generates frequency output, such as the oscillator signal in the patent claims).
 signal (Fvco)
 by an
 oscillator;

                                                                                        3
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                   In the Programming Guide of the AT1846S chip, as shown below, the chip supports a specific range of frequency signals, further indicating an oscillator
                   signal is generated and adjusted by the AT1846S chip.

                                                                                        5
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                   Further, as shown below, block A in the picture to the left indicates the location where the oscillator resides on the AT1846S chip. The picture to the right
                   shows a photo of the AT1846S chip with three metal layers removed. Metal layers are typically applied to chips to provide required signal crossings and
                   power supply rails. Without the metal layers, the layout of the circuit underneath is revealed to a greater extent.

                                                                                           6
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                   Therefore, the AT1846S chip includes an oscillator that generates oscillating signals.

                             Oscillator              Frequency Divider and Counter




 generating a      As shown below, block B in the picture to the left indicates where a frequency divider and a counter reside on the AT1846S chip. The picture to the right
 divided signal    shows a photo of the AT1846S chip with three metal layers removed. The frequency divider in the corresponding section is revealed in greater detail without
 by dividing a     the metal layers.

                                                                                          7
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 frequency of
 the                          Oscillator             Frequency Divider and Counter
 oscillating
 signal by a
 denominator;




                   Therefore, the AT1846S chip includes a frequency divider that generates a divided signal by dividing the frequency of the oscillating signal. A frequency
                   divider generates an output frequency signal by dividing the input frequency signal with an integer as a denominator, e.g., fout=fin/n. Therefore, the
                   denominator recited in the claims is inherently required.




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 obtaining a
 first count of    As shown below, in the picture to the left, block B indicates where a frequency divider and a counter reside on the AT1846S chip. The picture to the right
 the divided       shows a photo of the AT1846S chip with three metal layers removed. The counter in the corresponding section is revealed in greater detail without the metal
 signal            layers.
 (Fvco/N)
 within a          The counter may be configured to output a count (“first count”) of the divided signal within a predetermined time.
 predetermined                Oscillator             Frequency Divider and Counter
 time and a
 second count
 of a reference
 signal within
 the
 predetermined
 time;




                                                                                         9
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                   A reference signal is generated by a reference circuit. A reference circuit is inherent to chips. Thereby, the counter may be configured to output a count (e.g.,
                   second count) of the reference signal within the predetermined time.

                   The existence of the reference circuit may be further evidenced based on the discussion of a master reference clock in the Programming Guide of the
                   AT1846S chip, as shown below, which inherently generates a reference signal.




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                   The use of “predetermined time” and a reference circuit is further evidenced based on the below information acquired by testing the AT1846S chip.
                   Specifically, the use of reference signal generated by a reference circuit may be indicated by the “negative edge of ref clk” and the “positive edge” of the
                   reference clock. The use of “predetermined time” for at least the second count of the reference signal may be indicated by “pll_cnt_time,” referring to the
                   “ref clk cycle” (i.e., reference clock cycle).




 generating a
 comparison        A comparator is utilized in the AT1846S chip to generate a comparison result according to a comparison of the first count of the divided signal and the
 result            second count of a reference signal. The existence of a comparator may be inferred by testing digital signals in the chip. For example, an aging calibration
 according to a    curve generated by digital signals may be analyzed to infer the existence of a comparator.
 comparison of
 the first count

                                                                                          11
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 and the second    The screenshot below shows a curve indicating the changes of VCO (Voltage-Controlled Oscillator) frequency over a period of time. Based on the curve, we
 count;            may safely infer that a comparator exists in the AT1846S chip




 adjusting the
 frequency of      In the Programming Guide of the AT1846S chip, as shown below, the range of frequency signal, such as an oscillating signal, may be configured or adjusted
 the oscillating   based on a selected frequency band.
 signal

                                                                                       12
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 according to
 the
 comparison
 result;




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                   In the Programming Guide of the AT1846S chip, as shown below in the red rectangular box, the oscillating signal is configured or adjusted based on the
                   frequency band <8:0>. The selection of frequency band may be determined according to the comparison result.




                                                                                        13
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                   The screenshot in the Programming Guide of the AT1846S chip further indicates frequency signal may be configured or adjusted based on frequency band,
                   such as Freq<29:0>.




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 wherein the       A typical oscillator circuit includes plural energy-storing components, such as capacitors, or inductors, or both.
 oscillator
 comprises a
 first inductor    The circuit diagram below shows a circuit of typical oscillators that contains plural capacitors    (e.g., capacitor array) and inductors “   .”
 communicativ
 ely coupled to
 a first
 capacitor
 array;




                                                                                           15
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                   Further, as shown below, a capacitor array in the picture to the left is identified from the top view of the AT1846S chip.

                   The capacitor array in the AT1846S chip:                               Top view of the AT1846S chip:




                                                                                          16
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 obtaining the     As discussed above, based on the curve indicating the changes of VCO frequency over a period of time, we may safely infer that a comparator exists in the
 comparison        AT1846S chip. The comparison result is the output of the comparator and may be obtained.
 result;
                   A comparator is utilized in the AT1846S chip to generate a comparison result according to a comparison of the first count of the divided signal and the
                   second count of a reference signal. The existence of a comparator may be inferred by testing digital signals in the chip. For example, an aging calibration
                   curve generated by digital signals may be analyzed to infer the existence of a comparator.

                   The screenshot below shows a curve indicating changes of VCO (Voltage-Controlled Oscillator) frequency over a period of time. Based on the curve, we
                   infer that a comparator exists in the AT1846S chip




                                                                                          17
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 adjusting the     Because a capacitor array is identified and is communicatively coupled to the comparator in the AT1846S chip, it may be presumed that the capacitance may
 capacitance of    be adjusted based on the output (e.g., the comparison result) of the comparator.
 the first
 capacitor array
 according to
 the
 comparison
 result

                                                                                       18
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 wherein the       A typical capacitor array includes a plurality of individually switched capacitors, as shown below.
 first capacitor
 array
 comprises a
 plurality of
 individually
 switched
 capacitors,




                   Further, as shown below, a capacitor array in the picture to the left is identified from the top view of the AT1846S chip.




                                                                                          19
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                    The capacitor array in the AT1846S chip:                                  Top view of the AT1846S chip:




 wherein a          The graph below shows a LO frequency curve generated by the AT1846S chip below. It may be inferred that the capacitance of the first capacitor is less than
 capacitance of     the sum of capacitances of all the other capacitors that are less than the first capacitor and the capacitance of the least significant bit of the capacitor array.
 a first            Otherwise, the curve shall not be smooth and continuous.
 capacitor is
 less than the
 sum of
 capacitances
 of all the other
                                                                                            20
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 capacitors that
 are less than
 the first
 capacitor and
 the
 capacitance of
 a least
 significant bit
 of the
 capacitor
 array.




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